                   Case: 1:19-cv-01686 Document #: 5 Filed: 03/18/19 Page 1 of 2 PageID #:59

AO 440 (Rev. 05/00) Summons in a Civil Action



                                            NI                                    OURT



                                                                                                           E
CHARLES F. GILBERT and SANDRA D.
GILBERT
                                                                CASE NUMBER:        1: l 9-cv-01686
                                V.                              ASSIGNED JuDGE:
                                                                                    Hon. John Robert Blakey
 BMO HARRIS. N.A.: NATIONSTAR MORTGAGE LLC, D/8/A MR. COOPER:
 AMERICAN HONDA FINANCE CORPORATION: FORD MOTOR CREDIT
 COMPANY LLC. D/B/A LINCOLN AUTOMOTIVE FINANCIAL SERVICES:
                                                                DESIGNATED
 TAMM AC HOLDINGS CORPORATION, D/8/A TAMMAC FINANCIAL: WELLS
 FARGO BANK. N.A.; TRASSUNION. LLC: and EQUIFAX INFORNIATION    MAGISTRATE JuDGE:   Hon. Mary M. Rowland
 SERVICES. LLC




                    TO: (Name and address of Defendant)
                  WELLS FARGO BANK, N.A.
                  101 N. PHILLIPS AVE.
                  SIOUX FALLS, SD 57104



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                 Majdi Y. Hijazin
                 Sulaiman Law Group, Ltd.
                 2500 South Highland Avenue, Suite 200
                 Lombard, IL 60148


                                                                              21
an answer to the complaint which is herewith served upon you,        _________ days after service ofthis
summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period oftime after service.




                                          'ff\.(.�              'ff\.(.�




                                                                                      arch 11, 2019
                        Case: 1:19-cv-01686 Document #: 5 Filed: 03/18/19 Page 2 of 2 PageID #:60



                                                                                                RETURN OF SERVICE

                Service of the Summons and complaint was made by me< 1 l



      Check one box below to indicate appropriate method of service

                □     Served personally upon the defendant. Place where served:




                D Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
                  discretion then residing therein.
                      Name of person with whom the summons and complaint were left:

                D Returned uncxecutcd:




               � Other (specify):                   Corf)c>vA-1-e Jerv;· ce: well.f &,1--517 f;t>,hK µ, A -
                      -rr-e: /YltJoclY n C{,t7f"kJ _f,,.,--.,,,f{,11,                                         ,�J fle, Pe,i;J/71,,! I "Jld1 ke, .

._Do
  ___;c::..
        :L-_M_;.;�
                 ;..:..:.;..f-...;;..   1- _;:;.J__::�___::_:
                              :J_,· �€�,_ue..                                                                                      a':..:.1).:..J.l-/-_..=�.L!..l..!L!.£!.---1.....=.:r:__=�e:L._�!_L_.,....;:,.c...l!::..:.l.!..W:::::.....::..!.:===='f'/
                                                          f/,\::!.:f..:..!Y).:_/r):..:.0,.:_,;-.,�f,,_:.Ga:::o.:.:.'1'\..:,:;:/J:.L.=i
                                                                                         STATEMENT OF SERVICE FEES
TRAVEL                                                                          SERVICES                                                                                 TOTAL


                                                                                             DECLARATION OF SERVER

                         I declare under penalty of perjury under the laws of the United States of America that the foregoing information
                contained in the Return of Service and Statement of Service Fees is true and correct.


                 Executed on
                                                            Date
                                                                                             .� Signatu.-e ofServer




                                                                                             V�;t i_.,,,_ !IJ..r:J- ft. df"d.-l3,, Jf&.,,x r�II� J)57/oS-
                                                                                               Addres, of Server




 (1) As to who may serve a summons sec Rule 4 of the Federal Rules of Civil Procedure.
